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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                        February 15, 2024
                IN THE UNITED STATES DISTRICT COURT
                                                                        Nathan Ochsner, Clerk
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

                                        §
Patsy E. Carmon and Kimberlee           §
Carmon,                                 §
                                        §
             Plaintiffs,                §
                                        §      Case No. 4:22-cv-03534
v.                                      §
                                        §
Carrington Mortgage Services,           §
LLC,                                    §
                                        §
             Defendant.                 §

     ORDER DENYING MOTION FOR PERMISSION TO E-FILE

      Plaintiffs Patsy E. Carmon and Kimberlee Carmon filed a motion

requesting permission to e-file documents as pro se litigants and for access to

the Court’s electronic filing portal—CM/ECF. Dkt. 28. Plaintiffs explain that

they have not been receiving electronically filed documents in this case.

      It is not customary to allow pro se parties to e-file. Nor have Plaintiffs

shown why an exception is warranted in their case. To address their concerns

about lack of timely notice, however, Plaintiffs may send a written notice

(either by standard mail or email) stating that they consent to service of filings

by email and providing their email address.        See Fed. R. Civ. P. 5(b)(F)

(authorizing service “by any other means that the person consented to in

writing”). If Plaintiffs provide such a notice to the Court, the Court will email
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Plaintiffs copies of all further orders or notices that are docketed. And if

Plaintiffs provide the notice consenting to email service to counsel for

Carrington Mortgage Services, then counsel must proceed to email its future

filings to Plaintiffs.

      Because consenting to email service provides an adequate remedy,

Plaintiffs’ motion for permission to e-file is DENIED.

      Signed on February 15, 2024, in Houston, TX



                                             ______________________________
                                             ___________
                                                       _____________________
                                             Yvonne    Ho
                                             Yvonne Y. H o
                                             United States Magistrate Judge




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